                          UNITED STATES DISTRICT COURT

                         EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                    Plaintiff,

             v.                                          Case No. 07-CR-57

THOMAS C. BALSIGER, et al.,

                    Defendants.


ORDER ADOPTING THE RECOMMENDATION OF THE MAGISTRATE JUDGE (Doc.
 # 207), DENYING DEFENDANT BALSIGER’S MOTION TO DISMISS (Doc. # 100),
   DENYING DEFENDANT CURREY’S MOTION TO DISMISS (Doc. # 104), AND
 DENYING DEFENDANTS BALSIGER AND CURREY’S JOINT REQUEST FOR AN
                        EVIDENTIARY HEARING

             Defendants, Thomas Balsiger and James Currey, filed identical motions to

dismiss the superseding indictment, charging them with aiding and abetting wire fraud,

asserting that this venue is improper. In addition, during briefing on the motion, the

defendants jointly requested an evidentiary hearing on the matter. On September 9, 2008,

Magistrate Judge Patricia Gorence issued a Report and Recommendations recommending

that this court deny the defendants’ motions to dismiss for improper venue, and denying

the defendants’ joint request for an evidentiary hearing. Timely objections to Judge

Gorence’s Report and Recommendations were then filed.

             On dispositive matters such as defendants' motion to dismiss the indictment,

a magistrate judge may make recommendations to the district court.             28 U.S.C. §

636(b)(1)(B). A district court must review de novo the recommendations of the magistrate

judge to which either party timely objects. 28 U.S.C. § 636(b)(1)(C); Fed. R. Crim. P. 59.




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The court may review de novo any other aspect of the recommendation as it sees fit.

Delgado v. Bowen, 782 F.2d 79, 82 (7th Cir. 1986).

                Here, the defendants assert that Judge Gorence erred in denying their

motions to dismiss because she improperly “determined venue is proper in this district

based on the allegation that some of the purported victims of the defendants’ alleged fraud

were manufacturers located in the Eastern District of Wisconsin.” (Defs.’ Obj. 2.) Among

other matters, they take issue with Judge Gorence’s application of the Supreme Court’s

decision in United States v. Rodriguez-Moreno, 526 U.S. 275 (1999), and the Seventh

Circuit’s decision in United States v. Pearson, 340 F.3d 459 (7th Cir. 2003), vacated on

other grounds sub nom. Hawkins v. United States, 543 U.S. 1097 (2005). (Id. at 3-7.)1

                Here, the superceding indictment of December 5, 2007, charges the

defendants with twenty-five counts of wire fraud under 18 U.S.C. § 1343 and 2. Section

1343 provides in relevant part:

                Whoever, having devised or intending to devise any scheme
                or artifice to defraud, or for obtaining money or property by
                means of false or fraudulent pretenses, representations, or
                promises, transmits or causes to be transmitted by means of
                wire, radio, or television communication in interstate or foreign
                commerce, any writings, signs, signals, pictures, or sounds for
                the purpose of executing such scheme or artifice, shall be
                fined under this title or imprisoned not more than 20 years, or
                both.

The superceding indictment specifies that "for the purpose of executing the scheme to

defraud . . . the defendants knowingly caused writings, signs, and signals to be transmitted

by means of interstate wire communication." It continues that the transmissions consisted


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                  The defendants challenge venue as to counts 1-25 of the superceding indictm ent. The
superceding indictm ent includes two additional counts, which go unm entioned by the defendants. In fact,
as pointed out by the governm ent, the defendants appear to avoid the venue related provisions added to
the superceding indictm ent.

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of invoices sent to manufacturer's located in the Eastern District of Wisconsin ("the

manufacturers"), that the defendants know or had reason to know that the manufacturers

were located in this district, that it was foreseeable to the defendants that as part of the

scheme, wire communications would be sent to and from the manufacturers.                The

defendants are also charged with conspiracy to defraud (count twenty-six) and conspiracy

to corruptly influence, obstruct, and impede justice (count twenty-seven).

              The parties agree that 18 U.S.C. § 3237 governs venue for this “continuing”

offense:

              any offense against the United States begun in one district and
              completed in another, or committed in more than one district,
              may be inquired of and prosecuted in any district in which such
              offense was begun, continued, or completed.

(See Defs.’ Obj. 3.); see Pearson, 340 F.3d 459, 466 (7th Cir. 2003) (“Because the wire

fraud statute does not contain a specific statutory venue provision, the general venue

provision for offenses that occur in more than one state or district, 18 U.S.C. § 3237(a),

applies . . . .”). Under these circumstances, “the ‘locus delicti of the charged offense must

be determined from the nature of the crime alleged and the location of the act or acts

constituting it.’” Rodriguez-Moreno, 526 U.S. at 279 (quoting United States v. Cabrales,

524 U.S. 1, 6-7 (1998)). “In performing this inquiry, a court must initially identify the

conduct constituting the offense (the nature of the crime) and then discern the location of

the commission of the criminal acts.” Id.; see also United States v. Anderson, 328 U.S.

699, 703 (1946)).

              It is this language from Rodriguez-Moreno that the defendants focus on, and

they fault Judge Gorence for not analyzing the “conduct constituting the offense” nor the



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location of the “essential conduct elements.” (Defs.’ Obj. 4.) Specifically, they argue that

the “nature of the crime, as charged in counts 1-25, is causing wire transmissions to be

sent between third parties and the manufacturers in furtherance of the scheme to defraud.

In other words, the indictment concedes that wire transmissions were not sent directly by

the defendants to the manufacturers, or vice versa. Thus, according to the defendants, the

“essential conduct elements” of the offense cannot include the actual wire transmissions

sent by third parties to the manufacturers. Since none of the “essential conduct elements”

occurred in the Eastern District of Wisconsin, the defendants contend that venue is

improper pursuant to the Rodriguez-Moreno test.

              However, despite the defendants’ contentions, the “nature of the crime” and

“location of essential conduct elements” act as a “general guide” for courts considering

venue challenges. See United States v. Muhammad, 502 F.3d 646, 652 (7th Cir. 2007)

(quoting United States v. Cabrales, 524 U.S. 1, 6 (1998)). Indeed, “there is no single

defined policy or mechanical test to determine constitutional venue.” Id. (quoting United

States v. Reed, 773 F.2d 477, 481 (2d Cir. 1985)). “[T]o satisfy the terms of the continuing

offense venue statute, it is not essential that the defendant ever have been physically

present in the district in question, so long as the offense continued into the district.” Id. at

653. In other words, “[i]n cases interpreting the application of § 3237(a), [the Seventh

Circuit] has held that ‘venue is only improper if the only acts that occurred in that district

do not provide evidence of the elements of the charged crime.’” Pearson, 340 F.3d at 466

(quoting United States v. Ringer, 300 F.3d 788, 792 (7th Cir. 2002)) (discussing wire fraud

charge); see also Muhammad, 502 F.3d at 654 (“[P]laces that suffer the effects of a crime

are entitled to consideration for venue purposes. Such districts have an obvious contact

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with the litigation in their interest in preventing such effects from occurring.”) (quoting Reed,

773 F.2d at 482)).

              It was through this lens that Judge Gorence assessed the defendants’ venue

motion. As noted, in the instant case, the defendants are charged with, among other

things, devising and participating in a scheme to defraud a number of manufacturers, and

knew or had reason to know some of the manufacturers were located in the Eastern

District of Wisconsin. To this end, they caused wire communications to be sent to the

manufacturers, obtained more than $15 million from the manufacturers as a result of the

scheme, and made efforts to cover up their actions. Further, paragraph twenty-two of the

superceding indictment specifically alleges that the defendants “sent and caused their

attorneys to send coupon-related correspondence directly to the manufacturers in the

Eastern District of Wisconsin.” With the above in mind, Judge Gorence concluded that

venue is proper in this district in light of applicable precedent.          Thus, despite the

defendant’s assertions, the indictment language above, specifies the nature of the offense

and location of essential elements consistent with Rodriguez-Moreno.

              The court has reviewed the superceding indictment, the defendants’ motions,

the Report and Recommendation, and the defendants’ objections, and agrees with Judge

Gorence’s analysis. Unquestionably, the superceding indictment charges the defendants

with knowingly devising or participating in a scheme to defraud manufacturers, some of

which are located in the Eastern District of Wisconsin, and executing the scheme by

causing wire communications to be sent to and from the Eastern District of Wisconsin.

See 18 U.S.C. § 1343; Fed. Crim. Jury Instructions of the Seventh Circuit, 18 U.S.C. §

1343; see also Pearson, 340 F.3d at 466-67 (“The Supreme Court has emphasized that

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when analyzing venue, courts must inquire into the nature of the offense, see United States

v. Rodriguez-Moreno, 526 U.S. 275, 280 (1999) (upholding venue in prosecution of firearm

offense where crime of violence, an essential element of the firearm offense, occurred in

the trial district), and Pearson and Hawkins's crime of wire fraud focused on defrauding and

concealing their deceit of consumers, including those in the Southern District of Illinois.”).

Consequently, in consideration of Rodriguez-Moreno and Pearson, the court has little

difficulty concluding that the nature of the alleged offenses and the location of essential

conduct, make venue in this district proper. Judge Gorence’s recommendation that the

defendants’ motion to dismiss the indictment will therefore be adopted and the motions

denied.

              The defendants also object to Judge Gorence’s “recommendation . . .

denying [the defendants] request for an evidentiary hearing.” (Defs.’ Obj. 1.) Specifically,

the defendants seek an evidentiary hearing as to several “facts” bearing on venue,

including: (1) the lack of contractual relations between the manufacturers and the

defendants; (2) whether the manufacturers directly sent or received wire transmissions to

or from the defendants; and (3) whether the manufacturers are “located” in this district.

(See Defs.’ Obj. 8-10.)

              At the outset, the court notes, contrary to the defendants’ assertions, that

Judge Gorence did not recommend that this court deny their request; she denied their

request. See 28 U.S.C. § 636(b). Hence, it is unclear under what standard the defendants

seek this court’s review of Judge Gorence’s order. Regardless, the defendants point to no




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authority in support of their contention that Judge Gorence’s decision was erroneous.2

With this in mind, the court will assume the defendants are requesting that this court

conduct an evidentiary hearing, or recommit the matter to the magistrate judge for such a

hearing. See 28 U.S.C. § 636(b)(1)(C) (noting that upon review of the Report and

Recommendations, the district court may “receive further evidence or recommit the matter

to the magistrate judge with instructions.”). But see Fed. R. Crim. P. 59(a) (noting that a

magistrate judge may determine any matter that does not dispose of the charge; upon

objection, such an order is reviewed for clear error).

                 Generally, “at the pretrial stage, the indictment ordinarily should be tested

solely by its sufficiency to charge an offense, regardless of the strength or weakness of the

government's case." United States v. Risk, 843 F.2d 1059, 1061 (7th Cir. 1988). The

defendants argue, however, that “an evidentiary hearing on the issue of venue at this

juncture would clearly be in the interest of judicial economy.” To this end, they provide no

authority as to how resolution of each of these issues in their favor is relevant (or

dispositive) to the question of venue at this stage of the proceedings. Further, they do not

present any argument challenging Judge Gorence’s conclusion that, under the

circumstances, these matters are to be reserved for trial. This is true even though the

government attacked the relevancy of these matters to the question of venue, and the

propriety of attempting to resolve these factual issues at a evidentiary hearing. (See Pl.’s

Sept. 12, 2008, Letter to Judge Gorence - Doc. # 115.) With the above in mind,

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                       The defendants' assertion that technical enforcem ent of the local rules is relegated to
“egregious cases” m isstates the rules and the applicable law. Parties are expected to com ply with the
local rules and courts act within their discretion when enforcing com pliance. See Chelios v. Heavener,
520 F.3d 678, 687 (7th Cir. 2008) ("District courts have the discretion to require strict com pliance with the
local rules . . . ."). Further, Judge Gorence’s reference to Crim inal L.R. 12.3 was in passing; Judge
Gorence denied the request on the m erits after concluding such m atters are to be resolved at trial.

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             IT IS ORDERED that the magistrate judge’s Report and Recommendations

is (Doc. # 207) is adopted.

             IT IS FURTHER ORDERED that defendant Balsiger’s Motion to Dismiss the

Indictment for Improper Venue (Doc. # 100) is denied.

             IT IS FURTHER ORDERED that defendant Currey’s Motion to Dismiss the

Indictment for Improper Venue (Doc. # 104) is denied.

             IT IS FURTHER ORDERED that the defendants’ joint request for an

evidentiary hearing is denied.

             Dated at Milwaukee, Wisconsin, this 11th day of November, 2008.

                                                          BY THE COURT

                                                          /s/ C. N. Clevert, Jr.
                                                          C. N. CLEVERT, JR.
                                                          U. S. DISTRICT JUDGE




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